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                             EXHIBIT 2
    Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7886 Page 2 of 42


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        3   NEIL, ITYMOTT, FRANK,
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        5   San Diego, CA 92101-4959
            P 619.238.1712 IF 619.238.1562
        6

        7   Attorneys for Defendant,
            CORRECTIONAL PHYSICIANS
        8   MEDICAL GROUP, INC.
        9                         UNITED STATES DISTRICT COURT
       10                       SOUTHERN DISTRICT OF CALIFORNIA
       11

       12   THE ESTATE OF RUBEN                          CASE NO. 3:16-cv-01412-BEN-MDD
            NUNEZ, by and through its
       13   successor-in-interest, LYDIA                 DEFENDANT,
            NUNEZ, ALBERT NUNEZ, AND                     CORRECTIONAL
       14   LYDIANUNEZ,                                  PHYSICIANS MEDICAL
                                                         GROUP, INC.'S
       15         Plaintiffs,                            SUPPLEMENTAL RESPONSES
                                                         TO PLAINTIFFS' REQUEST
       16   v.                                           FOR PRODUCTION OF
                                                         DOCUMENTS (SET ONE)
       17   COUNTY OF SAN DIEGO et al.,
                                                         ASSIGNED FOR ALL PURPOSES
       18         Defendants.                            TO: JUDGE: HON. ROGER T.
                                                         BENITEZ
       19                                                MAG. JUDGE: HON MITHCELL D.
            COUNTY OF SAN DIEGO et al.,                  DEMBIN
~~~~2,Ql-l-l-~~~~~~~~~~~~~~-1-------'=====-'----~~~~~~~~~~~1-~

                  Third Party Plaintiffs,           '    COURTROOM: SA
       21
            v.                                           Complaint Filed: 6/8/16
       22                                                PAC Filed: 8/30/16
            CORRECTIONAL PHYSICIANS                      3rd Party Complaint Filed: 12/12/16
       23   MEDICAL GROUP, INC. a
            California Corporation, JORGE                SAC Filed: 07 /13/17
       24   NARANJO, an individual, and                  Trial Date: Not Yet Set
            SARA HANSEN, an individual,
       25
                  Third Party Defendants.
       26

       27
       28
             DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO
             PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE) DEFENDANT, CORRECTIONAL
              PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO PLAINTIFFS' REQUEST FOR
                                      PRODUCTION OF DOCUMENTS (SET ONE)
          Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7887 Page 3 of 42


                 1   PROPOUNDING PARTY:                         Plaintiffs, ESTATE OF RUBEN NUNEZ et. al.
                 2   RESPONDING PARTY:                          Defendant, CORRECTIONAL PHYSICIANS
                 3                                              MEDICAL GROUP, INC.
                 4    SET NUMBER:                                ONE (1)
                 5            Comes now Defendant, CORRECTIONAL PHYSICIANS MEDICAL GROUP,
                 6   INC., and provides supplemental responses under Fed. R. Civ. P. 34(b )(2) and pursuant
                 7   to Fed. R. Civ. P. 26(e), to Plaintiffs' Request for Production of Documents (Set One)
                 8   as follows:
                 9            The following responses are given without prejudice to the responding party's
               10    rights to produce evidence of any subsequently discovered facts, which this responding
               11    party may later recall. This responding party accordingly reserves the right to change
               12    any and all answers herein as additional facts are ascertained, analysis are made. The
               13    answers contained herein are made in good faith effort to supply as much factual
               14    information and as much specification of legal contentions as is presently known but
               15    should in no way be prejudicial to the responding party in relation to further discovery,
               16    research, and/or analysis.
               17             In providing the below supplemental responses, CPMG preserves and
               18    incorporates by reference all objections and assertions of privilege stated in CPMG' s
               19    original Responses to Plaintiffs' Request for Production of Documents (Set One). These
_ _ __,,,_0---0-Bj-ee-t-i-eR-s-ine-loo-e,---eu-t-ar-e----Ret-l-im-iteEl-t-0-t-he-fe-l-l-0wi-n~---agtl-e;--a-mlTi-g-u0-tts--,--a-f1d-e-ver-l-y--
               21    broad. This request seeks discovery of materials not relevant to any party's claim or
                                                                                   1 . De endant o     ~ects   to this request to the
               23    extent it requests information protected from disclosure by the attorney-client privilege
               24    and the attorney work-product doctrine. (See Fed. R. Evid. 502; Fed. R. Civ. P.
               25    26(b )(3).) Further, Defendant objects with respect to requests which seek unreasonable
               26    violation of privacy protections afforded by the California State Constitution and United
               27    States Constitution. "Federal courts generally recognize a constitutionally-based right
               28    of privacy that may be asserted response to discovery requests." (See e.g., Jadwin v.
                                                                               1
                      DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO
                                  PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
         Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7888 Page 4 of 42


                     City of Kern, No. 107CV-0026-0WW-TAG, 2008 WL 2025093, at *3 (E.D. Cal. May
                2   9, 2008), citing Johnson ex rel. Johnson v. Thompson (9th Cir. 1992) 971 F.2d 1487,
                3    1497; Megargee v. Wittman, No. CV F 06 0684 LJO WMW P, 2007 WL 2462097, at
                4   *2 (E.D.Cal.2007)
                5            Thus, to avoid simply restating these objections with each supplemental response
                6   provided below, CPMG hereby provides these supplemental responses subject to the
                7   above-stated objections and subject to all objections stated and preserved in CPMG's
                8   original Responses to Plaintiffs' Request for Production of Documents (Set One).
                9         SUPPLEMENTAL RESPONSES TO REQUEST FOR PRODUCTION OF
               10                                                 DOCUMENTS
               11   REQUEST FOR PRODUCTION NO. 1:
               12           All written or recorded statements, and/or reports in YOUR possession, custody
               13   or control regarding the INCIDENT.
              14    SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 1:
              15             Subject to the above-referenced and previously objections and/or assertions of
              16    privilege, Defendant responds as follows:
              17            Attached as Exhibit A, please find a copy of Correctional Physicians Medical
              18    Group, Inc. Staff Meeting Minutes to Include Peer Review/Quality Assurance, dated
              19    January 12, 2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or
---~'-'-'-'--l--Dr--.-l=I-fu1-S-€-n-m--Ex-h-i-hit-A-h-a-S-h~€fl-fOO-aG-re4,-G-oo-s-i-&t-@-1±t-w~th-t-h©-Geur--t-'.-s-QFEle-F-e-B-JetB-t--

              21    Motion for Determination of Discovery Dispute [ECF No. 190]. Exhibit A was
                                                            -,s Amended Pnv1lege Log m Support of Responses to
              23    Plaintiffs' Request for Production of Documents (Set One). However, despite a diligent
              24    search and reasonable review of its files at the time, CPMG was unable to locate these
              25    minutes and presumed the reason was because minutes were not generated from this
              26    meeting. CPMG has subsequently located Exhibit A, which had been mistakenly
              27    misfiled as Corporate Minutes in CPMG's files.
              28    ///

                                                                           2
                     DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC. 'S SUPPLEMENT AL RESPONSES TO
                                 PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
        Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7889 Page 5 of 42


                          Attached as Exhibit D, please find a copy of the Medical Services Division
              2    (MSD) Psychiatric Medication Follow-Up Documentation dated January 2016.
               3          Attached as Exhibit H, please find E-Mail Correspondence between CPMG
              4    affiliates and San Diego Sheriffs Department employees dated August 17, 2016-
               5   August 28, 2016. Although several of the e-mails in this e-mail chain do not pertain to
              6    Ruben Nunez, Dr. Naranjo, or Dr. Hansen, they are provided in full (with only unrelated
              7    provider and patient names redacted consistent with HIP AA and the Court's Order on
               8   Joint Motion for Determination of Discovery Dispute [ECF No. 190]) for context.
              9           Attached as Exhibit J, please find Psychiatric Peer Review - Intake & Follow-
             1O Up Report.

             11    REQUEST FOR PRODUCTION NO. 2:
             12           All DOCUMENTS in YOUR possession, custody or control regarding any
             13    injuries sustained by decedent Ruben Nunez, including his death.
             14    SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 2:
             15           Subject to the above-referenced and previously objections and/or assertions of
             16    privilege, Defendant responds as follows:
             17           Attached as Exhibit A, please find a copy of Correctional Physicians Medical
             18    Group, Inc. Staff Meeting Minutes to Include Peer Review/Quality Assurance, dated
             19    January 12, 2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or
----~Q__--D-r.-I=ia-n-Sen-i-n-Ex-h-~bit-A-h-a-S-b@@Il-fW-aGtW,GGn&i-&t@-!l-t-wi-th-t-hg_C-Gtl-f-t_'.__g_Qtfl@-r-eR---Jei-n-t--

             21    Motion for Determination of Discovery Dispute [ECF No. 190]. Exhibit A was
                                                        _,s Amended Privilege Log m Support of Responses to
             23    Plaintiffs' Request for Production of Documents (Set One). However, despite a diligent
             24    search and reasonable review of its files at the time, CPMG was unable to locate these
             25    minutes and presumed the reason was because minutes were not generated from this
             26    meeting. CPMG has subsequently located Exhibit A, which had been mistakenly
             27    misfiled as Corporate Minutes in CPMG' s files.
             28    ///

                                                                     3
                    DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO
                                PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
       Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7890 Page 6 of 42


                       Attached as Exhibit D, please find a copy of the Medical Services Division
             2   (MSD) Psychiatric Medication Follow-Up Documentation dated January 2016.
             3         Attached as Exhibit G, please find E-Mail Correspondence between Dr. Mannis,
             4   Dr. Rao, and Dr. Badre. Exhibit G was previously identified in CPMG's Amended
             5   Privilege Log in Support of Responses to Plaintiffs' Request for Production of
            6    Documents (Set One), but CPMG was not ordered to produce Exhibit G following the
            7    Court's Order on Joint Motion for Determination of Discovery Dispute [ECF No. 190].
             8   However, upon further review of the Court's Order and the Court's rulings with respect
            9    to CPMG's objections and assertions of privilege, CPMG believes Exhibit G should in
           1O fact be produced.

           11          Attached as Exhibit H, please find E-Mail Correspondence between CPMG
           12    affiliates and San Diego Sheriffs Department employees dated August 17, 2016-
           13    August 28, 2016. Although several of the e-mails in this e-mail chain do not pertain to
           14    Ruben Nunez, Dr. Naranjo, or Dr. Hansen, they are provided in full (with only unrelated
           15    provider and patient names redacted consistent with HIP AA and the Court's Order on
           16    Joint Motion for Determination of Discovery Dispute [ECF No. 190]) for context.
           17          Attached as Exhibit J, please find Psychiatric Peer Review - Intake & Follow-
           18    Up Report.
           19    REQUEST FOR PRODUCTION NO. 3:
_ _ ___,,__')0         AflY-Cl-nd--a-l-l-Q-GGYMEN-=r_g,F~ef-t~H-a-l-i-ty---a-ss-1±ffifl-e-e---ref)ef-t--s,----Fev-i-ew-s-;--17eer--

           21    reviews, and/or analyses RELATED TO Ruben Nunez's death or cause of death in
           LL    YOUR custody, control, and/or possess10n.
           23    SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 3:
           24          Subject to the above-referenced and previously objections and/or assertions of
           25    privilege, Defendant responds as follows:
           26          Attached as Exhibit A, please find a copy of Correctional Physicians Medical
           27    Group, Inc. Staff Meeting Minutes to Include Peer Review/Quality Assurance, dated
           28    January 12, 2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or
                                                                     4
                 DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO
                             PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
    Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7891 Page 7 of 42


        1   Dr. Hansen in Exhibit A has been redacted, consistent with the Court's Order on Joint
        2   Motion for Determination of Discovery Dispute [ECF No. 190]. Exhibit A was
        3   previously identified in CPMG's Amended Privilege Log in Support of Responses to
        4   Plaintiffs' Request for Production of Documents (Set One). However, despite a diligent
        5   search and reasonable review of its files at the time, CPMG was unable to locate these
        6   minutes and presumed the reason was because minutes were not generated from this
        7   meeting. CPMG has subsequently located Exhibit A, which had been mistakenly
        8   misfiled as Corporate Minutes in CPMG's files.
        9           Attached as Exhibit B, please find a copy of a September 21, 2016 Meeting
       10   Summary and E-Mail Correspondence between Dr. Mannis and County of San
       11   Diego/San Diego Sheriffs Department employees dated September 13-September 23,
       12   2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr. Hansen in Exhibit
       13   B has been redacted, consistent with the Court's Order on Joint Motion for
       14   Determination of Discovery Dispute [ECF No. 190].
       15           Attached as Exhibit D, please find a copy of the Medical Services Division
       16   (MSD) Psychiatric Medication Follow-Up Documentation dated January 2016.
       17           Attached as Exhibit E, please find E-Mail Correspondence Between Dr. Hansen
       18   and Dr. Mannis dated September 29 and September 30, 2016. Information not
       19   pertaining to Ruben Nunez, Dr. Naranjo, or Dr. Hansen in Exhibit E has been redacted,
----~-iL    -GG-R-&i-&t@-R-t-wi-tl:i-t-R-©-GeuFt'.-s--GFoof-e-R-Jeffit-Met-ien-fer-I;>etefm-i-Rat--i-en-ef-9-i-s-eever- -
       21   Dispute [ECF No. 190].


       23   Dr. Rao, Claire Wilson, and Dr. Redburn dated September 20, 2016, as well as E-Mail
       24   Correspondence Information not pertaining to Ruben Nunez, Dr. Naranjo, or
       25   Dr. Hansen in Exhibit F has been redacted, consistent with the Court's Order on Joint
       26   Motion for Determination of Discovery Dispute [ECF No. 190].
       27           Attached as Exhibit H, please find E-Mail Correspondence between CPMG
       28   affiliates and San Diego Sheriffs Department employees dated August 17, 2016-
                                                                 5
             DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO
                         PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
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               1    August 28, 2016. Although several of the e-mails in this e-mail chain do not pertain to
               2    Ruben Nunez, Dr. Naranjo, or Dr. Hansen, they are provided in full (with only unrelated
               3    provider and patient names redacted consistent with HIP AA and the Court's Order on
               4    Joint Motion for Determination of Discovery Dispute [ECF No. 190]) for context.
               5            Attached as Exhibit J, please find Psychiatric Peer Review - Intake & Follow-
               6    Up Report.
               7    REQUEST FOR PRODUCTION NO. 4:
               8            Any and all DOCUMENTS reflecting reports, meetings/discussions, "death
               9    summary" reports, "critical incident reports," quality assurance reviews, quality control
              1O processes/reports,          continuous      quality improvement reports,               operating reports,
              11    corrective action reports/plans, "peer reviews," "root cause" analyses, "root cause"
              12    presentations, "cause of death" reports, and/or any records that are kept in the course of
              13    business after an "in custody death" from CMPG RELATED TO the death of Ruben
              14    Nunez.
              15    SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 4:
              16            Subject to the above-referenced and previously objections and/or assertions of
              17    privilege, Defendant responds as follows:
              18            Attached as Exhibit A, please find a copy of Correctional Physicians Medical
              19    Group, Inc. Staff Meeting Minutes to Include Peer Review/Quality Assurance, dated
----~Q_--J-a-n-illl-171---l--2,---2-0-l-e.--------I-n-fGr-mati0n-net-~{H'--ta-i-n-ing---te-~H:----Nttnez,   Dr.--Na-ra-aj-e,-er--
              21    Dr. Hansen in Exhibit A has been redacted, consistent with the Court's Order on Joint
                      ot10n or        etermmat10n o           IScovery                                                   was
              23    previously identified in CPMG' s Amended Privilege Log in Support of Responses to
              24    Plaintiffs' Request for Production of Documents (Set One). However, despite a diligent
              25    search and reasonable review of its files at the time, CPMG was unable to locate these
              26    minutes and presumed the reason was because minutes were not generated from this
              27    meeting. CPMG has subsequently located Exhibit A, which had been mistakenly
              28    misfiled as Corporate Minutes in CPMG's files.

                                                                         6
                     DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO
                                 PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
     Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7893 Page 9 of 42


         1            Attached as Exhibit B, please find a copy of a September 21, 2016 Meeting
         2    Summary and E-Mail Correspondence between Dr. Mannis and County of San
         3    Diego/San Diego Sheriff's Department employees dated September 13-September 23,
         4    2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr. Hansen in Exhibit
         5    B has been redacted, consistent with the Court's Order on Joint Motion for
         6    Determination of Discovery Dispute [ECF No. 190].
         7           Attached as Exhibit D, please find a copy of the Medical Services Division
         8    (MSD) Psychiatric Medication Follow-Up Documentation dated January 2016.
         9           Attached as Exhibit H, please find E-Mail Correspondence between CPMG
        1O affiliates and San Diego Sheriff's Department employees dated August 17, 2016-

        11    August 28, 2016. Although several of the e-mails in this e-mail chain do not pertain to
        12    Ruben Nunez, Dr. Naranjo, or Dr. Hansen, they are provided in full (with only unrelated
        13    provider and patient names redacted consistent with HIPAA and the Court's Order on
        14    Joint Motion for Determination of Discovery Dispute [ECF No. 190]) for context.
        15           Attached as Exhibit J, please find Psychiatric Peer Review - Intake & Follow-
        16    Up Report.
        17    REQUEST FOR PRODUCTION NO. 5:
        18           Any and all DOCUMENTS RELATING TO all disciplinary records, and/or
        19    complaints of misconduct or negligence of Third-Party Defendants Dr. Jose Naranjo
------,420-   --a-nfi-f}r--;-8-ar--a-Ha-nsen-fr-0m-J-an-tta-ry-~--006--te-t-he-pres-ettt~.- - - - - - - - - - - 1 - -

        21    SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 5:
        22           Subject to the above-referenced and previously objections and/or assertions of
        23    privilege, Defendant responds as follows:
        24           Attached as Exhibit F, please find E-Mail Correspondence between Dr. Mannis,
        25    Dr. Rao, Claire Wilson, and Dr. Redburn dated September 20, 2016. Information not
        26    pertaining to Ruben Nunez, Dr. Naranjo, or Dr. Hansen in Exhibit F has been redacted,
        27    consistent with the Court's Order on Joint Motion for Determination of Discovery
        28    Dispute [ECF No. 190].

                                                               7
               DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC'S SUPPLEMENTAL RESPONSES TO
                           PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
       Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7894 Page 10 of 42


            1         Attached as Exhibit H, please find E-Mail Correspondence between CPMG
            2   affiliates and San Diego Sheriffs Department employees dated August 17, 2016-
            3   August 28, 2016. Although several of the e-mails in this e-mail chain do not pertain to
            4   Ruben Nunez, Dr. Naranjo, or Dr. Hansen, they are provided in full (with only unrelated
            5   provider and patient names redacted consistent with HIP AA and the Court's Order on
            6   Joint Motion for Determination of Discovery Dispute [ECF No. 190]) for context.
            7         Attached as Exhibit J, please find Psychiatric Peer Review - Intake & Follow-
            8   Up Report.
            9   REQUEST FOR PRODUCTION NO. 6:
           1O         Any and all DOCUMENTS RELATING TO all training records related to Third
           11   Party Defendants Dr. Jose Naranjo [sic] and Dr. Sara Hansen from January 1, 2006 to
           12   the present, including but not limited to continuity of care, bridging medication, on-call
           13   phone/remote orders, face-face consultation, reviewing medical charts, reviewing
           14   JIMS, reviewing medical discharge summary forms, and reviewing medication
           15   prescription lists of transferred patients.
           16   SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 6:
           17          Subject to the above-referenced and previously objections and/or assertions of
           18   privilege, Defendant responds as follows:
           19         Attached as Exhibit A, please find a copy of Correctional Physicians Medical
---------r-Q-- -8-rett~ff-M-eeting-Mi-ntl-te-s-t-e-I-11-e-l-ttde   Peer   Rev-i-ew/~ua-l-ity   AsSttra-nee,cla-ted--
           21   January 12, 2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr.
           22   Hansen in Exhibit A has been redacted, consistent with the Court's Order on Joint
           23   Motion for Determination of Discovery Dispute [ECF No. 190]. Exhibit A was
           24   previously identified in CPMG' s Amended Privilege Log in Support of Responses to
           25   Plaintiffs' Request for Production of Documents (Set One). However, despite a diligent
           26   search and reasonable review of its files at the time, CPMG was unable to locate these
           27   minutes and presumed the reason was because minutes were not generated from this
           28

                                                              8
                 DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO
                             PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
      Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7895 Page 11 of 42


                 meeting. CPMG has subsequently located Exhibit A, which had been mistakenly
           2     misfiled as Corporate Minutes in CPMG's files.
           3                 Attached as Exhibit B, please find a copy of a September 21, 2016 Meeting
           4     Summary and E-Mail Correspondence between Dr. Mannis and County of San
           5     Diego/San Diego Sheriff's Department employees dated September 13-September 23,
           6     2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr. Hansen in Exhibit
           7     B has been redacted, consistent with the Court's Order on Joint Motion for
           8     Determination of Discovery Dispute [ECF No. 190].
           9                 Attached as Exhibit C, please find E-Mail Correspondence between Dr. Joshua,
          10     County employees, and CPMG affiliates dated November 10, 2014 and November 21,
          11     2014, which references various San Diego Sheriff's Department Policies and
          12     Procedures; and E-Mail Correspondence from Dr. Rao to CPMG providers dated May
          13     12, 2015 and regarding HMS.
          14                 Attached as Exhibit J, please find Psychiatric Peer Review - Intake & Follow-
          15     Up Report.
          16     REQUEST FOR PRODUCTION NO. 7:
          17                 Any and all rep01is reflecting investigations of the acts, omissions, and/or failures
          18     to act by YOUR EMPLOYEES, INDEPDENDENT CONTRACTORS, and/or agents
          19     RELATED TO the death of Ruben Nunez, including, but not limited to, "critical
          ')Q    '     ';]             II     Ll±1z                    '       II           '      ti   II           II     1
-------6-',6--   l-fietttffit-fi~f>erls-f-E]tl:a-rn/--a-s-stl-fftftee--re-Vi-ew-s,----'13eer-r-ev+~oot--ea-u-s-e-:-:---an-ft1.-y-s-es-,--


          21     "root cause" presentations, and/or "cause of death" reports.
                 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 7:
          23                 Subject to the above-referenced and previously objections and/or assertions of
          24     privilege, Defendant responds as follows:
          25                 Attached as Exhibit A, please find a copy of Correctional Physicians Medical
          26     Group, Inc. Staff Meeting Minutes to Include Peer Review/Quality Assurance, dated
          27     January 12, 2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr.
          28     Hansen in Exhibit A has been redacted, consistent with the Court's Order on Joint
                                                                           9
                     DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO
                                 PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
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               1   Motion for Determination of Discovery Dispute [ECF No. 190]. Exhibit A was
               2   previously identified in CPMG's Amended Privilege Log in Support of Responses to
               3   Plaintiffs' Request for Production ofDocuments (Set One). However, despite a diligent
               4   search and reasonable review of its files at the time, CPMG was unable to locate these
               5   minutes and presumed the reason was because minutes were not generated from this
               6   meeting. CPMG has subsequently located Exhibit A, which had been mistakenly
               7   misfiled as Corporate Minutes in CPMG' s files.
               8           Attached as Exhibit B, please find a copy of a September 21, 2016 Meeting
               9   Summary and E-Mail Correspondence between Dr. Mannis and County of San
             10    Diego/San Diego Sheriffs Department employees dated September 13-September 23,
             11    2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr. Hansen in Exhibit
             12    B has been redacted, consistent with the Court's Order on Joint Motion for
             13    Determination of Discovery Dispute [ECF No. 190].
             14            Attached as Exhibit D, please find a copy of the Medical Services Division
             15    (MSD) Psychiatric Medication Follow-Up Documentation dated January 2016.
             16            Attached as Exhibit J, please find Psychiatric Peer Review - Intake & Follow-
             17    Up Report.
             18    REQUEST FOR PRODUCTION NO. 8:
             19            Any and all communication, including but not limited to e-mails and
--------6-0----e-e-r-Fes-p0fl.-d-e-Re-e,-8e-t-ween any EMP-b8-¥E-B-k-gefl-tf-r-epr-es-entat-i--ve-e--:f-8-P-M-G-w-i-t-h-afl-y---
             21    EMPLOYEE/agent/representative of the County of San Diego or the County of San
                   Diego                      RTMENT RELATED T
             23    Ruben Nunez.
             24    SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 8:
             25            Subject to the above-referenced and previously objections and/or assertions of
             26    privilege, Defendant responds as follows:
             27            Attached as Exhibit H, please find E-Mail Correspondence between CPMG
             28    affiliates and San Diego Sheriffs Department employees dated August 17, 2016-

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                    DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO
                                PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
      Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7897 Page 13 of 42


           1   August 28, 2016. Although several of the e-mails in this e-mail chain do not pertain to
           2   Ruben Nunez, Dr. Naranjo, or Dr. Hansen, they are provided in full (with only unrelated
           3   provider and patient names redacted consistent with HIPAA and the Court's Order on
           4   Joint Motion for Determination of Discovery Dispute [ECF No. 190]) for context.
           5   REQUEST FOR PRODUCTION NO. 9:
           6         Any and all communication, including but not limited to e-mails and
           7   correspondence,      between       any EMPLOYEES/agents/representatives                     of CPMG,
           8   including but not limited to communications between Dr. Rao (CPMG Medical
           9   Director/ Psychiatric Medical Director) and Dr. Jose Naranjo RELATED TO the
          10   INCIDENT and/or the death of Ruben Nunez.
          11   SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 9:
          12         Subject to the above-referenced and previously objections and/or assertions of
          13   privilege, Defendant responds as follows:
          14         Attached as Exhibit I, please find a Letter dated September 25, 2015 and E-Mail
          15   Correspondence dated December 7, 2015-December 21, 2105 regarding Dr. Naranjo's
          16   resignation. Exhibit His being produced in order to clarify the nature of Dr. Naranjo's
          17   departure from CPMG in light of e-mail correspondence which seemingly indicates he
          18   was terminated for cause.
          19   REQUEST FOR PRODUCTION NO. 10:
-------+-2•Q         PttrSttant-t-e-t-he-8-a-n-Bi-ege-8et1nt-y----8h-er--i-f:F-s-BE-P-AR:--T-ME-N--F-Mecl-i-ea-l-Ser-v-i-e-e-s--
          21   Division Policy and Procedure Manual, Number 7.09.09, section IV, subdivision B, all
          22   COMMUNICATIONS and DOCUMENTS drafted, edited, or produced for the agenda
          23   of all committee meetings RELATED TO the INCIDENT and/or the death of Ruben
          24   Nunez that are maintained in the Medical Services Administration Office in YOUR
          25   possession. See also California Code of Regulations, Title 15, § 1202, as referenced in
          26   CSD003886-CSD003887.
          27   Ill
          28   ///

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                DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO
                            PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
        Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7898 Page 14 of 42


                    SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 10:
               2            Subject to the above-referenced and previously objections and/or assertions of
               3    privilege, Defendant responds as follows:
               4            Attached as Exhibit A, please find a copy of Correctional Physicians Medical
               5    Group, Inc. Staff Meeting Minutes to Include Peer Review/Quality Assurance, dated
               6    January 12, 2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr.
               7    Hansen in Exhibit A has been redacted, consistent with the Court's Order on Joint
               8    Motion for Determination of Discovery Dispute [ECF No. 190]. Exhibit A was
               9    previously identified in CPMG' s Amended Privilege Log in Support of Responses to
              10    Plaintiffs' Request for Production of Documents (Set One). However, despite a diligent
              11    search and reasonable review of its files at the time, CPMG was unable to locate these
              12    minutes and presumed the reason was because minutes were not generated from this
              13    meeting. CPMG has subsequently located Exhibit A, which had been mistakenly
              14    misfiled as Corporate Minutes in CPMG's files.
              15            Attached as Exhibit B, please find a copy of a September 21, 2016 Meeting
              16    Summary and E-Mail Correspondence between Dr. Mannis and County of San
              17    Diego/San Diego Sheriff's Department employees dated September 13-September 23,
              18    2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr. Hansen in Exhibit
              19    B has been redacted, consistent with the Court's Order on Joint Motion for
                 'Jn    I\         '     '      .Cl\'             I\.'
-----6-l+--i-~1::;1e-tet'-l'l'H-fl:fr}I-efl-0-1---t:1IBC-evef--Y-1::tlSj3-l±tC [Dr<-C   1'.T~     1 (){'1 _ _ _ _ _ _ _ _ _ _ _ __ , _ _
                                                                               [:EA:;:F 1~_._...,.__,++v++J-·


              21            Attached as Exhibit D, please find a copy of the Medical Services Division
              22    (MSD) Psychiatnc Med1cat10n Follow-Up Documentation dated January 2016.
              23            Attached as Exhibit H, please find E-Mail Correspondence between CPMG
              24    affiliates and San Diego Sheriff's Department employees dated August 17, 2016-
              25    August 28, 2016. Although several of the e-mails in this e-mail chain do not pertain to
              26    Ruben Nunez, Dr. Naranjo, or Dr. Hansen, they are provided in full (with only unrelated
              27    provider and patient names redacted consistent with HIPAA and the Court's Order on
              28    Joint Motion for Determination of Discovery Dispute [ECF No. 190]) for context.
                                                                          12
                     DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC'S SUPPLEMENTAL RESPONSES TO
                                 PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
        Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7899 Page 15 of 42


               1           Attached as Exhibit J, please find Psychiatric Peer Review - Intake & Follow-
               2   Up Report.
               3   REQUEST FOR PRODUCTION NO. 11:
               4           Pursuant to the San Diego County Sheriffs DEPARTMENT Medical Services
               5   Division Policy and Procedure Manual, Number 7.09.09, section IV, subdivision B, all
               6   COMMUNICATIONS and DOCUMENTS drafted, edited, or produced for the minutes
               7   of all committee meetings RELATED TO the INCIDENT, the actions of CPMG
               8   EMPLOYEES or INDEPENDENT CONTRACTORS, and/or the death of Ruben
               9   Nunez that are maintained in the Medical Services Administration Office in YOUR
              10   possession. See California Code of Regulations, Title 15, § 1202, as referenced in
              11   CSD003886-CSD003887.
              12   SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 11:
              13           Subject to the above-referenced and previously objections and/or assertions of
              14   privilege, Defendant responds as follows:
              15           Attached as Exhibit A, please find a copy of Correctional Physicians Medical
              16   Group, Inc. Staff Meeting Minutes to Include Peer Review/Quality Assurance, dated
              17   January 12, 2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr.
              18   Hansen in Exhibit A has been redacted, consistent with the Court's Order on Joint
              19   Motion for Determination of Discovery Dispute [ECF No. 190]. Exhibit A was
---------.-0---13Fevieus-ly-ide-nt-i-Het1-i-R-GPMQ' s A:rne-ooeG-P-r-fv-i-l-e-ge----beg-i-n--SHf>fffit--t--ef-R:es-13e-B-S-es-t:0--
              21   Plaintiffs' Request for Production of Documents (Set One). However, despite a diligent


              23   minutes and presumed the reason was because minutes were not generated from this
              24   meeting. CPMG has subsequently located Exhibit A, which had been mistakenly
              25   misfiled as Corporate Minutes in CPMG's files.
              26           Attached as Exhibit B, please find a copy of a September 21, 2016 Meeting
              27   Summary and E-Mail Correspondence between Dr. Mannis and County of San
              28   Diego/San Diego Sheriffs Department employees dated September 13-September 23,
                                                                       13
                    DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO
                                PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
   Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7900 Page 16 of 42


             2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr. Hansen in Exhibit
        2    B has been redacted, consistent with the Court's Order on Joint Motion for
        3    Determination of Discovery Dispute [ECF No. 190].
        4             Attached as Exhibit D, please find a copy of the Medical Services Division
        5    (MSD) Psychiatric Medication Follow-Up Documentation dated January 2016.
        6             Attached as Exhibit H, please find E-Mail Correspondence between CPMG
        7    affiliates and San Diego Sheriffs Department employees dated August 17, 2016-
        8    August 28, 2016. Although several of the e-mails in this e-mail chain do not pertain to
        9    Ruben Nunez, Dr. Naranjo, or Dr. Hansen, they are provided in full (with only unrelated
      10     provider and patient names redacted consistent with HIPAA and the Court's Order on
       11    Joint Motion for Determination of Discovery Dispute [ECF No. 190]) for context.
       12             Attached as Exhibit J, please find Psychiatric Peer Review - Intake & Follow-
      13     Up Report.
      14     REQUEST FOR PRODUCTION NO. 12:
      15              As set forth in the San Diego County Sheriffs DEPARTMENT Medical Services
      16     Division Policy           and Procedure Manual,                 Number        7.09.09,      section     IV,    all
      17     COMMUNICATIONS and DOCUMENTS in preparation for, or produced from, or as
      18     a result of, any and all committee meetings RELATED TO the INCIDENT, the actions
      19     of CPMG EMPLOYEES or INDEPENDENT CONTRACTORS, and/or the death of
----~2Q     --R-uben-Nttnez-t-h-at-are-m-ai-nta-ifl-ecl--i-n--t-he-Mecl-i-eal--&ervi-e-es-A-dm-i-ni-s-t-rat-i-em---8-ffi-e-e-i-n-
      21     YOUR possession. See California Code of Regulations, Title 15, § 1202, as referenced
      22     in CSD003886-CSD003887.
      23     SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 12:
      24              Subject to the above-referenced and previously objections and/or assertions of
      25     privilege, Defendant responds as follows:
      26             Attached as Exhibit A, please find a copy of Correctional Physicians Medical
      27     Group, Inc. Staff Meeting Minutes to Include Peer Review/Quality Assurance, dated
      28     January 12, 2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr.
                                                                     14
              DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO
                          PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
        Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7901 Page 17 of 42


                   Hansen in Exhibit A has been redacted, consistent with the Court's Order on Joint
              2    Motion for Determination of Discovery Dispute [ECF No. 190]. Exhibit A was
              3    previously identified in CPMG's Amended Privilege Log in Support of Responses to
              4    Plaintiffs' Request for Production of Documents (Set One). However, despite a diligent
              5    search and reasonable review of its files at the time, CPMG was unable to locate these
              6    minutes and presumed the reason was because minutes were not generated from this
              7    meeting. CPMG has subsequently located Exhibit A, which had been mistakenly
              8    misfiled as Corporate Minutes in CPMG's files.
              9           Attached as Exhibit B, please find a copy of a September 21, 2016 Meeting
             10    Summary and E-Mail Correspondence between Dr. Mannis and County of San
             11    Diego/San Diego Sheriffs Department employees dated September 13-September 23,
             12    2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr. Hansen in Exhibit
             13    B has been redacted, consistent with the Court's Order on Joint Motion for
             14    Determination of Discovery Dispute [ECF No. 190].
             15           Attached as Exhibit D, please find a copy of the Medical Services Division
             16    (MSD) Psychiatric Medication Follow-Up Documentation dated January 2016.
             17           Attached as Exhibit H, please find E-Mail Correspondence between CPMG
             18    affiliates and San Diego Sheriffs Department employees dated August 17, 2016-
             19    August 28, 2016. Although several of the e-mails in this e-mail chain do not pertain to
---------+-G---Rubetl-Ntn1-e-z-;-B-r.-Nara-llj-e,e-r-Bl.Ha-men;-they--are-p-rovi-d-e-d--in-fti-H-Ew-i-t-h-o-nl-y-unrel-ate-d--
             21    provider and patient names redacted consistent with HIP AA and the Court's Order on
             22    Joint Motion for Determination of Discovery Dispute [ECF No. 190]) for context.
             23           Attached as Exhibit J, please find Psychiatric Peer Review - Intake & Follow-
             24    Up Report.
             25    REQUEST FOR PRODUCTION NO. 13:
             26           Pursuant to the San Diego County Sheriffs DEPARTMENT Medical Services
             27   Division Policy and Procedure Manual, Number 7.09.09, section IV, subdivision C, all
             28   COMMUNICATIONS and DOCUMENTS drafted, edited, or produced for any audit
                                                                     15
                    DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO
                                PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
      Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7902 Page 18 of 42


            1    RELATED TO the INCIDENT, the                           actions of CPMG EMPLOYEES                      or
            2    INDEPENDENT CONTRACTORS, the death of Ruben Nunez, and/or important
            3    problems and concerns involving the medical treatment for hyponatremia, polydipsia,
            4    and/or water intoxication in YOUR possession. See also California Code of
            5    Regulations, Title 15, § 1202, as referenced in CSD003886-CSD003887.
            6    SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 13:
            7          Subject to the above-referenced and previously objections and/or assertions of
            8    privilege, Defendant responds as follows:
            9          Attached as Exhibit A, please find a copy of Correctional Physicians Medical
           10    Group, Inc. Staff Meeting Minutes to Include Peer Review/Quality Assurance, dated
           11    January 12, 2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr.
           12    Hansen in Exhibit A has been redacted, consistent with the Court's Order on Joint
           13    Motion for Determination of Discovery Dispute [ECF No. 190]. Exhibit A was
          14     previously identified in CPMG's Amended Privilege Log in Support of Responses to
          15     Plaintiffs' Request for Production of Documents (Set One). However, despite a diligent
           16    search and reasonable review of its files at the time, CPMG was unable to locate these
           17    minutes and presumed the reason was because minutes were not generated from this
          18     meeting. CPMG has subsequently located Exhibit A, which had been mistakenly
          19     misfiled as Corporate Minutes in CPMG's files.
--------,;2-Q-         Att--aeh-e-d-ct-5--E---x-h-i-b-i-t-B-;-pl-eas-e-find---a-copy--of--a-S-eptembe1 21-;-2-8-1-6---Meeting--
          21     Summary and E-Mail Correspondence between Dr. Mannis and County of San
          22     Diego/San Diego Sheriff's Department employees dated September 13-September 23,
          23     2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr. Hansen in Exhibit
          24     B has been redacted, consistent with the Court's Order on Joint Motion for
          25     Determination of Discovery Dispute [ECF No. 190].
          26           Attached as Exhibit D, please find a copy of the Medical Services Division
          27     (MSD) Psychiatric Medication Follow-Up Documentation dated January 2016.
          28     ///

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                  DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.' S SUPPLEMENTAL RESPONSES TO
                              PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
     Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7903 Page 19 of 42


          1         Attached as Exhibit H, please find E-Mail Correspondence between CPMG
          2   affiliates and San Diego Sheriffs Department employees dated August 17, 2016-
          3   August 28, 2016. Although several of the e-mails in this e-mail chain do not pertain to
          4   Ruben Nunez, Dr. Naranjo, or Dr. Hansen, they are provided in full (with only unrelated
          5   provider and patient names redacted consistent with HIPAA and the Court's Order on
          6   Joint Motion for Determination of Discovery Dispute [ECF No. 190]) for context.
          7         Attached as Exhibit J, please find Psychiatric Peer Review - Intake & Follow-
          8   Up Report.
          9   REQUEST FOR PRODUCTION NO. 14:
         10         Pursuant to the San Diego County Sheriffs DEPARTMENT Medical Services
         11   Division Policy and Procedure Manual, Number 7.09.09, section IV, subdivision D, all
         12   COMMUNICATIONS and DOCUMENTS drafted, edited, or produced for on-site
         13   monitoring of medical programs/activities through chart reviews RELATED TO the
         14   INCIDENT, CPMG EMPLOYEES or INDEPENDENT CONTRACTORS, and/or the
         15   death of Ruben Nunez in YOUR possession. See also California Code of Regulations,
         16   Title 15, § 1202, as referenced in CSD003886-CSD003887.
         17   SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 14:
         18         Subject to the above-referenced and previously objections and/or assertions of
         19   privilege, Defendant responds as follows:
-----+-2•Q-         At-t-a-eh-ed-as-E-xh-i-bi-t--A-;-pl-ect~-fi-ncl--a-co-p-y--o-f-&rrreet-i-o-mtl-Phys-i-e-i-ans-Med-i-ca-1-~
         21   Group, Inc. Staff Meeting Minutes to Include Peer Review/Quality Assurance, dated
         22   January 12, 2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or
         23   Dr. Hansen in Exhibit A has been redacted, consistent with the Court's Order on Joint
         24   Motion for Determination of Discovery Dispute [ECF No. 190]. Exhibit A was
         25   previously identified in CPMG' s Amended Privilege Log in Support of Responses to
         26   Plaintiffs' Request for Production of Documents (Set One). However, despite a diligent
         27   search and reasonable review of its files at the time, CPMG was unable to locate these
         28   minutes and presumed the reason was because minutes were not generated from this

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              DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.' S SUPPLEMENTAL RESPONSES TO
                          PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7904 Page 20 of 42


    1    meeting. CPMG has subsequently located Exhibit A, which had been mistakenly
    2    misfiled as Corporate Minutes in CPMG's files.
    3          Attached as Exhibit B, please find a copy of a September 21, 2016 Meeting
    4    Summary and E-Mail Correspondence between Dr. Mannis and County of San
    5    Diego/San Diego Sheriffs Department employees dated September 13-September 23,
    6    2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr. Hansen inExhibit
    7    B has been redacted, consistent with the Court's Order on Joint Motion for
    8    Determination of Discovery Dispute [ECF No. 190].
    9          Attached as Exhibit D, please find a copy of the Medical Services Division
   10    (MSD) Psychiatric Medication Follow-Up Documentation dated January 2016.
   11          Attached as Exhibit H, please find E-Mail Correspondence between CPMG
   12    affiliates and San Diego Sheriffs Department employees dated August 17, 2016-
   13    August 28, 2016. Although several of the e-mails in this e-mail chain do not pertain to
   14    Ruben Nunez, Dr. Naranjo, or Dr. Hansen, they are provided in full (with only unrelated
   15    provider and patient names redacted consistent with HIP AA and the Court's Order on
   16    Joint Motion for Determination of Discovery Dispute [ECF No. 190]) for context.
    17         Attached as Exhibit J, please find Psychiatric Peer Review - Intake & Follow-
   18    Up Report.
   19    REQUEST FOR PRODUCTION NO. 15:
   28          Pursu-ant to the San Diego ecmnty-S-heriff-s :BE-PA---R--FME-N-F-M-e-d-i-cal-8-erv-i-ces--
   21    Division Policy and Procedure Manual, Number 7.09.09, section IV, subdivision E, all
   22    COMMUNICATIONS and DOCUMENTS drafted, edited, or produced regarding
   23    incorporation of improvement activities and corrective actions into training programs
   24    RELATED TO the INCIDENT,                CPMG EMPLOYEES              or INDEPENDENT
   25    CONTRACTORS, and/or the death of Ruben Nunez in YOUR possession. See also
   26    California Code of Regulations, Title 15, § 1202, as referenced in CSD003886-
   27    CSD003887.
   28    ///

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          DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO
                      PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7905 Page 21 of 42


     1   SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 15:
     2         Subject to the above-referenced and previously objections and/or assertions of
     3   privilege, Defendant responds as follows:
    4          Attached as Exhibit A, please find a copy of Correctional Physicians Medical
     5   Group, Inc. Staff Meeting Minutes to Include Peer Review/Quality Assurance, dated
     6   January 12, 2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr.
     7   Hansen in Exhibit A has been redacted, consistent with the Court's Order on Joint
     8   Motion for Determination of Discovery Dispute [ECF No. 190]. Exhibit A was
     9   previously identified in CPMG's Amended Privilege Log in Support of Responses to
   10    Plaintiffs' Request for Production ofDocuments (Set One). However, despite a diligent
    11   search and reasonable review of its files at the time, CPMG was unable to locate these
   12    minutes and presumed the reason was because minutes were not generated from this
   13    meeting. CPMG has subsequently located Exhibit A, which had been mistakenly
   14    misfiled as Corporate Minutes in CPMG's files.
   15          Attached as Exhibit B, please find a copy of a September 21, 2016 Meeting
   16    Summary and E-Mail Correspondence between Dr. Mannis and County of San
    17   Diego/San Diego Sheriffs Department employees dated September 13-September 23,
    18   2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr. Hansen in Exhibit
   19    B has been redacted, consistent with the Court's Order on Joint Motion for
   2-e---JJetermination of Biscove1y BTspute-tE€F-Nrr:-1-9-0J.
   21          Attached as Exhibit D, please find a copy of the Medical Services Division
   22    (MSD) Psychiatric Medication Follow-Up Documentation dated January 2016.
   23          Attached as Exhibit H, please find E-Mail Correspondence between CPMG
   24    affiliates and San Diego Sheriffs Department employees dated August 17, 2016-
   25    August 28, 2016. Although several of the e-mails in this e-mail chain do not pertain to
   26    Ruben Nunez, Dr. Naranjo, or Dr. Hansen, they are provided in full (with only unrelated
   27    provider and patient names redacted consistent with HIP AA and the Court's Order on
   28    Joint Motion for Determination of Discovery Dispute [ECF No. 190]) for context.
                                                     19
         DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO
                     PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
        Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7906 Page 22 of 42


               1          Attached as Exhibit J, please find Psychiatric Peer Review - Intake & Follow-
              2    Up Report.
              3    REQUEST FOR PRODUCTION NO. 16:
              4           Pursuant to the San Diego County Sheriffs DEPARTMENT Medical Services
              5    Division Policy and Procedure Manual, Number 7.09.09, section IV, subdivision F, all
              6    COMMUNICATIONS and DOCUMENTS drafted, edited, or produced for any quality
              7    management or improvement activities RELATED TO the INCIDENT, CPMG
              8    EMPLOYEES or INDEPENDENT CONTRACTORS, and/or the death of Ruben
              9    Nunez in YOUR possession. See also California Code of Regulations, Title 15, § 1202,
             10    as referenced in CSD003886-CSD003887.
             11    SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 16:
             12           Subject to the above-referenced and previously objections and/or assertions of
             13    privilege, Defendant responds as follows:
             14           Attached as Exhibit A, please find a copy of Correctional Physicians Medical
             15    Group, Inc. Staff Meeting Minutes to Include Peer Review/Quality Assurance, dated
             16    January 12, 2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or
             17    Dr. Hansen in Exhibit A has been redacted, consistent with the Court's Order on Joint
             18    Motion for Determination of Discovery Dispute [ECF No. 190]. Exhibit A was
             19    previously identified in CPMG' s Amended Privilege Log in Support of Responses to
--------,;--Q---P-l:a-int-i-ff~ttes-t-f-er-P-r-ed-uet-i-en-ef-BeettmerrttjS-et-8n-e}.-llitweve-r;-cle~p-i-t-ea-cl-i-l-i-g-ent--

             21    search and reasonable review of its files at the time, CPMG was unable to locate these
             22    minutes and presumed the reason was because minutes were not generated from this
             23    meeting. CPMG has subsequently located Exhibit A, which had been mistakenly
             24    misfiled as Corporate Minutes in CPMG' s files.
             25           Attached as Exhibit B, please find a copy of a September 21, 2016 Meeting
             26    Summary and E-Mail Correspondence between Dr. Mannis and County of San
             27    Diego/San Diego Sheriffs Department employees dated September 13-September 23,
             28    2016. Information not pertaining to Ruben Nunez, Dr. Naranjo, or Dr. Hansen in Exhibit
                                                                     20
                    DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC.'S SUPPLEMENTAL RESPONSES TO
                                PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7907 Page 23 of 42


         B has been redacted, consistent with the Court's Order on Joint Motion for
     2   Determination of Discovery Dispute [ECF No. 190].
     3         Attached as Exhibit D, please find a copy of the Medical Services Division
     4   (MSD) Psychiatric Medication Follow-Up Documentation dated January 2016.
     5         Attached as Exhibit H, please find E-Mail Correspondence between CPMG
     6   affiliates and San Diego Sheriffs Department employees dated August 17, 2016-
     7   August 28, 2016. Although several of the e-mails in this e-mail chain do not pertain to
     8   Ruben Nunez, Dr. Naranjo, or Dr. Hansen, they are provided in full (with only unrelated
     9   provider and patient names redacted consistent with HIPAA and the Court's Order on
    10   Joint Motion for Determination of Discovery Dispute [ECF No. 190]) for context.
    11         Attached as Exhibit J, please find Psychiatric Peer Review - Intake & Follow-
    12   Up Report.
    13
    14   Dated:    January 24, 2019                 NEIL, DYMOTT, FRANK,
                                                    MCCABE & HUDSON
    15                                              A Professional ~aw Cornoration


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    16
    17                                              By:
    18                                                    Clark R. Hudson
                                                          Elizabeth A. Harris
    19                                                    Attorneys for Third-Party
                                                          Defendant/Defendant,
   20- -1~~~~~~~~~~~~~~~GGRRE-G-T~GNA-b--P-H~---8-IGIA-N8--~
                                                          MEDICAL GROUP. INC.
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         DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL GROUP, INC'S SUPPLEMENTAL RESPONSES TO
                     PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7908 Page 24 of 42




       2
       3

       4               r, Steven H. Mannis, M.D., on behalf of Correctional Physicians Medical
       5   Group,            Inc.,        have read the                     DEFENDANT,
       6 PHYSICIANS MEDICAI, GROUP,                                        'S SUPPLEMENTAL RESPONSES
       7   TO PLAINTIFFS' REQUEST FOR                                                    OF DOCUMENTS (SET
       8 ONE), and know the contents thereof. I certify that the same is true of my own
       9   knowledge,                            as to the matters which are therein stated upon my infi)rmation or
      lO   belief, and as to those matters, I believe it to                 true.
      ll               I declare m1der penalty of perj my, under the laws of the State of California, that
      12   the above is true and correct and that this declaration was executed this                           day of
           -~:.:.t.'"'"~1".:.-J:-..- ............~... , 2019                    California.
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                                                                                                        Inc.
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                                                                 VERIFICATION
Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7909 Page 25 of 42


                                   CERTIFICATE OF SERVICE
                                          IFRCP 5(b)(2)(C)I
    2

    3         I, the undersigned, am employed in the county of San Diego, state of California.
    4   I am over the age of 18 and not a party to the within action; my business address is
    5   110 West A Street, Suite 1200, San Diego, California, 92101.
    6         On January 24, 2019, I caused to be served the document(s) described as
    7   follows:
    8      1. DEFENDANT, CORRECTIONAL PHYSICIANS MEDICAL
              GROUP, INC.'S SUPPLEMENTAL RESPONSES TO PLAINTIFFS'
    9         REQUEST FOR PRODUCTION OF DOCUMENTS (SET ONE)
   10      On the parties in this action addressed as follows:
   11   Eugene G. Iredale, Esq.                         Xavier Becerra
        Juha Yoo, Esq.                                  Attorney General of California
   12   Grace Jun, Esq.                                 Richard J. Rojo
        IREDALE & YOO, APC                              Supervising Deputy Attorney General
   13   105 West F Street, 4th Floor                    Daniel G. Eskue
        San Diego, CA 92101                             Deputy Attorney General
   14   T: (619) 233-1525 IF: (619) 233-3221            Attorney General's Office
        e iredale   ahoo.com                            300 S. Spring Street, Suite 1702
   15                                                   Los Angeles, CA 90013
                                                        T: (213) 269-6491 /F: (213) 897-2810
   16                                                   Daniel.eskue@doj.ca.gov
   17   Attorney(s) for Plaintiff(s),                   Attorney(s) for Defendants,
        The Estate of Ruben Nunez, by and               State of California, by and through the
   18   through Successor-in-Interest, Lydia            Department of State Hospitals and
        Nunez; and Lydia Nunez and Albert               Patton State Hospital, Harry Oreal,
   19   Nunez                                           Kayla Fisher, Theresa Barm, Wilda D.
                                                        Ramos and Naphtal Rucibwa
        Robert L. McKenna, Esq.                         Terrance J. Schafer, Esq.
   21   Kaytee V. Costa, Esq.                           Jamie A. Mason, Esq.
        K'ar, McKenna & Stockalper, LLP                 DOYLE, SCHAFER & MCMAHON
          11 Center Avenue, Suite 670                   54      ra uco oa
        Huntington Beach, CA 9264 7                     Irvine, CA 92620
   23   Telephone No. (657) 237-7533                    tschafer dsmll .com
        Facsimile No. (657) 237-7534                     mason          .com
   24   rmckenna kmsle al.com
        <Costa <ms e a .com
   25
        Attorney(s) for Third-Party Defendant, Attorney(s) for Third-Party Defendant,
   26   Jorge Naranjo, M.D.                    Sara Hansen, M.D.
   27

   28

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                                           PROOF OF SERVICE
Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7910 Page 26 of 42


    1   Thomas E. Montgomery, County Counsel
        Fernando Kish, Senior Deputy
    2   1600 Pacific Highway, Room 355
        San Diego, CA 92101
    3   T: (619) 531-4713 /F: (619) 531-6005
        Fernando .kish@sdcounty.ca. gov
    4
        Attorney(s) for Defendants/Third-
    s   Party Plamtiffs,
        County of San Diego, William Gore,
    6   Alfred Joshua andllruce Leicht
    7

    8   IBJ    BY MAIL - As follows: I am "readily familiar" with the firm's practice of
    9          collection and processing correspondence for mailing. Under that practice it
   10          would be deposited with the U.S. Postal Service on that same day with postage
   11          thereon fully prepaid at San Diego, California in the ordinary course of
   12          business. The envelope was sealed and placed for collection and mailing on
   13          this date following our ordinary practices. I am aware that on motion of the
   14          party served, service is presumed invalid if postal cancellation date or postage
   15          meter date is more than one day after date of deposit for mailing in affidavit.
   16   IBJ    BY ELECTRONIC TRANSMISSION - As follows: I personally sent to the
   17          addressee's email addresses true and correct copies of the above-described
   18          documents.
   19

   20          &x-e&ate6-eR-J*&u-ary24,2~1-9,--a-t----8-aft-Biegcr,-8a--tlfe-mia-.~~~~~~~~1

   21          I declare under penalty of perjury under the laws of the state of California, that
        lEe above 1s true and correct.
   23

   24
   25                                                   Hannah DuBois
   26
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                                            PROOF OF SERVICE
Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7911 Page 27 of 42




                       · EXHIBIT A

                                 CONFIDENTIAL
Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7912 Page 28 of 42




                              EXHIBITB

                                 CONFIDENTIAL
Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7913 Page 29 of 42




                              EXHIBIT C

                                 CONFIDENTIAL
Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7914 Page 30 of 42




                              EXHIBITD

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Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7915 Page 31 of 42




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         Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7916 Page 32 of 42

       Gmail • Question                                                         https://mail.google,com/mail/u/2 ?ik=768 l accd8b&view"')Jt&search=...




                NG
                 · ma1·1                                                                    Steve Mannis <cpmedgroup@gmail.com>



                Question
                3 messages

                Sara Hansen <saramhansen@gmail.com>                                                       Thu, Sep 29, 2016 at 10:40 PM
                To: Steve Mannis <steve@cpmedgroup.com>

                  Hi Dr. Mannis,

                  I hope I don't sound too direct, but I'm concerned. The issue is especially highlighted by the abrupt termination of
                  Dr.~· I can't ,help but be concerned about own my job security.

                  With the Ruben Nunez case pending, I wonder If my job is also in jeopardy, especially considering the county's
                  position/stance?

                  You mentioned last night, after an adverse event "you may be removed from the schedule temporarily" ... per the
                  county's request.

                  I really need clarification on this. I have a mortgage, school loans, other bills, not to mention my livelihood.

                  If I should be looking for another job I need to know now.
                  More so, Is this something I need to constantly worry about?

                  Unlike Dr.    f1m, this is my career. Please let me know where I stand.
                  Sincerely,
                  Sara Hansen

                  Sent from my iPhone


                Steve Mannis <steve@cpmedgroup.com>                                                        Fri, Sep 30, 2016 at 10:10 AM
                To: Sara Hansen <saramhansen@gmail.com>
                Cc: Steve Mannis <steve@cpmedgroup.com>

------Sara,l-dO-F1et-tl'lff!k-yGbl-Bf'.e-in~eGpaf'.dy.-ef-lesin9-}IQ-ur-jeG.-l=l'le-oot.mty-elees-waAt-te-revfew-ye1;1-r-eases-whieh,-------<
              have all been excellent except for the outcome of the nunez case. The providers are treated the same way
              the nurses are at the jails. If there is a serious event or death ( not just an adverse event) the county does
              reserve the right to remove a provider temporarily until the case is reviewed. (this would be within a week) I
------~w~o"""'ultl hope this would be an extremely rare occasion. ln1hls rare event, the case woula'~b~e~r=ev'"""1e=w~e~a~p~r~o=m=p~t'y~------:1
              and wlth your skill level, I doubt they would remove you permanently.            I value your services and would not
              want you seeking another job. In fact I am hoping to give you a raise In 6 months.           Barnes did several things
              where his care was felt to be dangerous to patients. I don't think you practice the same type of Medicine.
              I hope you make this your career and look forward to working with you for a long time.

                   Steven Mannis M.D
                   Correctional Physicians Medical Group, Inc.
                   3525 Del Mar Heights Rd. Ste 231
                   San Diego, CA 92130
                   Tel: (858) 480-5276
                   [Quoled text hidden]


                Sara Hansen <saramhansen@gmail.com>                                                          Fri, Sep 30, 2016 at 8:45 PM


        I of2                                                    CONFIDENTIAL                                                        1112/2019,4:18 PM
Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7917 Page 33 of 42
Gmail • Question                                                        https://mail.google.com/mail/u/2?ik=7681accd8b&view=pt&search=•..


        . To: Steve Mannis <steve@cpmedgroup.com>

           Dr. Mannis,

           Thank you. I appreciate your response and I am somewhat reassured. Honestly, I really enjoy the work. I want to
           be an integral part.in Improving psychiatric care in the SD jail system now, as well as In the future. I think it's a
           good fit for me. I'm not sure what lies ahead with the Nunez case. I wlll hope far the best.

           Kindest Regards,
           Sara

           Sent from my !Phone

           On Sep 30, 2016, at 10:10 AM, Steve Mannis <steve@cpmedgroup.com> wrote:


             Sara, I do not think you are in jeopardy of losing your job. The .county does want to review your cases which
             have all been excellent except for the outcome of the nunez case. The providers are treated the same way
             the nurses are at the jails. If there is a serious event or death ( not just an adverse event) the county does
             reserve the right to remove a provider temporarily until the case is reviewed. ( this would be within a week) I
             would hope this would be an extremely rare occasion. In this rare event, the case would be reviewed
             promptly and with your skill level, I doubt they would remove you permanently.           l value your services and
             would not want you seeking another job. In fact I am hoping to give you a raise in 6 months.          Barnes did
             several things where his care was felt to be dangerous to patients; I don't think you practice the same type
             of Medicine.
             I hope you make this your career and look forward to working with you for a long time.

             Steven Mannis M.D
             Correctional Physicians Medical Group, Inc.
             3525 Del Mar Heights Rd. Ste 231
             San Diego, CA 92130
             Tel: (858) 480-5276




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Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7918 Page 34 of 42




                              EXHIBITF

                                 CONFIDENTIAL
Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7919 Page 35 of 42




                             EXHIBITG

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Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7920 Page 36 of 42




                             EXHIBITH

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Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7921 Page 37 of 42




                               EXHIBIT I

                                 CONFIDENTIAL
Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7922 Page 38 of 42




       9/25/15

       Correctional Physician Medical Group, Inc.

       3525 Del Mar Heights Rd. Ste 231

       San Diego, CA 92130



       Dr. Steven Mannis,



       This is my formal letter of resignation as independent contractor working for your medical group.

       As per our contract, I am giving you 60 days notification. Therefore, on 11/30/2015, I am going to stop
       providing psychiatric services for the San Diego County Sheriff.

       Should you have any questions, do not hesitate to call me. Thank you for your attention.



       Sincerely,


      -r~iJtLi_D
       Jorge Naranjo M.D.




                                               CONFIDENTIAL
         Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7923 Page 39 of 42
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           Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7924 Page 40 of 42

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              ail~   (no subject)                                                                   httµs://mail .google.com/mail/u/2?ik=7681 accd8b&view=pt&search=-...




                                      Gm an                                                                        Steve Mannis <cpmedgroup@gmail.com>


                       (no subject)
                       5 messages

                      Steve Mannis <steve@cpmedgroup.com>                                                                            Mon, Dec 7, 2015 at 11:31 AM
                      To: Jorge Naranjo <jnara@sbcglobal.net>

                         Jorge, I wanted to thank you for your dedication, treating, and serving patients all these years . I hope you are
                         able to find satisfaction in another work environment or enjoy some time off. You are always welcome to do
                         other shifts with us as well either at Central or other facilities. Happy Holidays
                         Steven Mannis M.D
                         Correctional Physicians Medical Group, Inc.
                         3525 Del Mar Heights Rd. Ste 231
                         San Die.go, CA 92130
                         Tel: (858) 480-5276


                      Jorge Naranjo <jnara@sbcglobal.net>                                                                            Mon, Dec 7. 2015at12:20 PM
                      To: Steve Mannis <steve@cpmedgroup.com>

                         Hlsteve,
                         Thank you fort.he opportonity you gave me to be part of your mediqal group, and to cotinue to provide medical
                         services for the Jails.
                         Happy Holidays. ·
                         Sincerely,
                         Jorge

                         Sent from my iPhona
                         Jorge Naranjo M.D.
                         [Quoted text hidden]

                         · - - - ...................
                      Jorge Naranjo <jnara@sbcglobal.net>                                                                            Mon, Dec 21, 2015 at 8:30 AM
                      To: Steve Mannis<steve@cpmedgroup.com>

                         Good morning Steve,
                         The reason I'm sending you this email is because I have not receive my check for the Month of novemember,
                         and I was wandering if I should wait until the end of the month.
                         I .did send my hours to your office at the begining of this month.
- · - · - -- - -            lease--letr:nakr:i.ow.Jf yon did notr:ecebteJt,..:cu---1Ltb.ereJS:.y._pwble.i:+.i . . : : : ; . . . _ - " ' - - - - - - - - - - - - - - - ' - - - - - " - - - - - + -
                         Sincer(:lly,
                         Jorge


                         Sent from my iPhone
                         Jorge Naranjo M.D.
                         [Quoted text hidden]


                       Steve Manrils <steve@cpmedgroup.com>                                                                          Mon, Dec21, 2015 at 8:40AM
                       To: Jorge Naranjo <jnara@sbcglobal.ne\>

                         Hi Jorge,




          l. of2                                                                CONFIDENTIAL                                                                     l/12/2019, 4:31 PM
 Case 3:16-cv-01412-BEN-MDD Document 340-4 Filed 01/28/19 PageID.7925 Page 41 of 42
Gmail • (no subject)                                                https:/!mail.google.com/mail/u/2?ik=7681accd8b&view=pt&search==, ..




            Payroll has been processed and you should receive your check or direct deposit by Wednesday, 12/23. Please
            let me know If you don't receive It by then and I will contact the payroll company. Otherwise, have a happy
            holiday.

            Sincerely,

            Claire Wilson

            Steven Mannis M.D
            Correctional Physicians Medical Group, Inc.
            3525 Del Mar Heights Rd. Ste 231
            San Diego, CA 92130
            Tel: (858) 480-5276

            (Quoted text hidden]


         Jorge Naranjo <jnara@sbcglobal.net>                                                Mon, Dec21, 2015at10:15 AM
         To: Steve Mannis <steve@cpmedgroup.com>

            Thank you

            Sent from my !Phone
            Jorge Naranjo M.D.
            [Quoted text hidden]




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2 of2                                                     CONFIDENTIAL                                              1/12/2019,4:31 PM
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                                 EXHIBIT J
                                 CONFIDENTIAL
